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                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE WESTERN DISTRICT OF VIRGINIA
                                             ROANOKE DIVISION


        UNITED STATES OF AMERICA                                      )
                                                                      )
        v.                                                            )        Case No. 5:10-cr-00015
                                                                      )
        NAKIA KELLER                                                  )

                            MOTION TO VACATE CONVICTION UNDER 28 U.S.C. §
                                               2255

                   Petitioner, Nakia Keller, through undersigned counsel, asks the Court to set aside the

            judgment in this case on Count 2, Count 8, and Count 10 pursuant to 28 U.S.C. § 2255.1 As

            explained below, Mr. Keller’s convictions on Count 2, Count 8 and Count 10 under 18 U.S.C. §

            924(c) must be vacated in light of the Supreme Court’s recent decision in United States v. Davis,

            139 S.Ct. 2319 (2019).

                                                      INTRODUCTION

                   Mr. Keller pled guilty in 2015 to Conspiracy to Commit Interstate Domestic Violence, in

            violation of 18 U.S.C. § 1958(a) (Count One), Conspiracy to Use a Firearm in Relation to a Crime

            of Violence, in violation of 18 U.S.C. § 924(o) (Count Two); Conspiracy to Kill Witnesses

            Resulting in Death, in violation of 18 U.S.C. § 1512(k) (Count Three); 18 U.S.C. § 1512(k);

            Conspiracy to Tamper with Witnesses and Evidence, in violation of 18 U.S.C. § 1512(k) and

            1512(b)(3) (Counts Four and Five); Conspiracy to Use Fire to Commit a Felony 18 U.S.C. §

            844(h)(1) and 844(m) (Count 6); Interstate Domestic Violence Resulting in Death 18 U.S.C. §

            2261(a)(1) and 2261(b)(1) (Count 7); Carry and Use of a Firearm in Relation to a Crime of


        1
          Counsel has simultaneously filed an Application for Leave to File a Successive Motion in the Fourth Circuit pursuant
        to 28 U.S.C. § 2244(b)(3), requesting authorization for this Court to consider the present successive motion under 28
        U.S.C. § 2255(h)(2).


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         Violence Resulting in Death 18 U.S.C. § 924(c) and 924(j)(1) (Count 8); Murdering a Witness 18

         U.S.C. § 1512(a)(1) and 1111(b) (Count 9); Use of a Firearm in Relation to a Crime of Violence

         Resulting in Death 18 U.S.C. § 924(c) and 924(j)(1) (Count 10); Tampering with Witness and

         Evidence 18 U.S.C. § 1512(b)(3) and 1512(c) (Counts 13-14); Use of Fire During the Commission

         of a Felony Resulting in Death 18 U.S.C. § 844(h) (Count 15); Felon in Possession of a Firearm

         18 U.S.C. § 922(g)(1) (Count 16).

                  On March 31, 2016, Mr. Keller was sentenced to three life consecutive life sentences, 60

         months’ imprisonment on Count 1, to run consecutive to 240 months’ imprisonment on Counts 2,

         4, 5, 6, 13 and 14 (which were grouped), a term of life imprisonment on Counts 3, 7 and 9,

         consecutive life sentences on Counts 8 and 10, and 120 months to be served consecutively to all

         other Counts on Count 15.

                Notably, Mr. Keller pleaded guilty to three Counts of using a firearm during and in relation

         to a “crime of violence” in violation of 18 U.S.C. § 924(c). The relevant portion of § 924(c)

         defining a “crime of violence” has two clauses. The first clause – § 924(c)(3)(A) – is commonly

         referred to as the force clause. The other – § 924(c)(3)(B) – is commonly referred to as the residual

         clause. Because the Supreme Court in Davis held that the § 924(c) residual clause is

         unconstitutionally void in violation of the Due Process Clause, the offenses underlying Mr.

         Keller’s convictions under this statute cannot qualify as a “crime of violence” under the § 924(c)

         residual clause.

                For Count Two, the underlying “crime of violence” for the § 924(c) charge was included

         conspiracy to commit interstate domestic violence (Count 1) and conspiracy to kill witnesses

         (Count 3) ECF 53. However, post-Davis, such conspiracy offenses categorically fail to qualify

         as a “crime of violence.” For Count Eight, the underlying crime of violence is interstate domestic



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         violence, which cannot qualify as a crime of violence under the § 924(c) force clause, and is

         therefore void. For Count Ten, the underlying crime of violence is federal witness tampering

         resulting in murder, which also cannot qualify as a crime of violence under the § 924(c) force

         clause, and is therefore void.

                As a result, Mr. Keller’s § 924(c) convictions 1) violate the Due Process Clause and 2)

         violate the United States laws and results in a fundamental miscarriage of justice. Therefore, Mr.

         Keller is entitled to a vacatur of his unlawful § 924(c) convictions under 28 U.S.C. § 2255(a).

                The proper remedy as a matter of procedure is to vacate Mr. Keller’s sentence on all counts

         under the sentencing package doctrine and conduct a resentencing. See Dean v. United States, 137

         S. Ct. 1170, 1176 (2017); United States v. Smith, 115 F.3d 241, 244 (4th Cir. 1997). As grounds

         for this motion, Mr. Keller states as follows:

                                                   ARGUMENT

         I.     After Davis, Mr. Keller’s convictions under 18 U.S.C. § 924(c) cannot be sustained

                Mr. Keller’s § 924(c) convictions under Counts Two, Eight, and Ten for using a firearm

         during and in relation to a “crime of violence” is void because the “crime of violence” element

         cannot be satisfied for these offenses as the predicate offenses do not qualify as a “crime of

         violence” as a matter of law.

                Under § 924(c)(3), “crime of violence” is defined as follows:

                (3)     For purposes of this subsection, the term “crime of violence” means an offense
                        that is a felony and –
                        (A)      has an element the use, attempted use, or threatened use of physical force
                                 against the person or property of another, or
                        (B)      that by its nature, involves a substantial risk that physical force against the
                                 person or property of another may be used in the course of committing the
                                 offense.

                The first clause – § 924(c)(3)(A) – is the force clause. The other – § 924(c)(3)(B) – is the



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         residual clause. Because the Supreme Court in Davis held that the § 924(c) residual clause is

         unconstitutionally vague in violation of the Due Process Clause, Mr. Keller’s § 924(c) convictions

         as to Counts Two, Eight, and Ten cannot be sustained under the § 924(c) residual clause.

                  Mr. Keller’s convictions under § 924(c) should be vacated as the underlying conduct no

        longer meets the definition of a crime of violence. 18 U.S.C. § 924(c)(3) defines a crime of violence

        in two ways. The force clause is laid out in § 924(c)(3)(A) and defines a crime of violence as an

        offense that is a felony and “has as an element the use, attempted use, or threatened use of physical

        force against the person or property of another.”         18 U.S.C. § 924(c)(3)(A).       By contrast, §

        924(c)(3)(B), which was the “residual clause,” defines a crime of violence as one that “by its nature,

        involves a substantial risk that physical force against the person or property of another may be used

        in the course of committing the offense.” 18 U.S.C. § 924(c)(3)(B). In United States v. Davis, 139

        S.Ct. 2319 (2019), the Supreme Court held that the residual clause in § 924(c) is void for vagueness,

        noting that “this language, read in the way nearly everyone (including the government) has long

        understood it, provides no reliable way to determine which offenses qualify as crimes of violence.”

        Davis, at 2324.

                                                   COUNT EIGHT

                Mr. Keller was charged and convicted of Interstate Domestic Violence in violation of 18

        U.S.C. § 2261(a)(1), the predicate offense for Count 8. The only way that Count Eight can remain is

        if Mr. Keller’s conviction fits the definition of a crime of violence that is laid out in the force clause.

        It does not. Interstate domestic violence is not a “crime of violence” under § 924(c)’s remaining force

        clause because it does not have as an element the use, attempted use, or threatened use of violent

        physical force. The relevant statute, 18 U.S.C. § 2261(a)(1), requires a showing that defendant

        1)“travels in interstate or foreign commerce;” 2)with the intent to kill, injure, harass, or intimidate a

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        spouse, intimate partner, or dating partner; 3) and “in the course of or as a result of such travel or

        presence;” 4) commits or attempts to commit a crime of violence against that spouse, intimate partner,

        or dating partner.” (emphasis added). In Count Eight of the Superseding Indictment, Mr. Keller’s

        Interstate Domestic Violence predicate was described as follows:

          On or about October 23, 2009, in the Western District of Virginia and elsewhere,
                 the defendants, LORIE ANN TAYLOR KELLER and NAKIA HEATH
                 KELLER, as principals and as aiders and abettors, traveled in interstate
                 commerce, specifically between Virginia and West Virginia, with the intent
                 to kill, injure, harass, and intimidate Dennis Taylor, the former spouse of
                 LORIE ANN TAYLOR KELLER, and as a result of such travel, committed
                 a crime of violence against Dennis Taylor that resulted in the death of
                 Dennis Taylor.

               Notably, § 2261(a)(1) itself requires a predicate “crime of violence” to establish its

        commission, for which it incorporates the definition found in 18 U.S.C. § 16, which defines a crime

        of violence as:

                  (a)     an offense that has as an element the use, attempted use, or threatened use of
                          physical force against the person or property of another, […]

                  (b)     or any other offense that is a felony and that, by its nature, involves a substantial
                          risk that physical force against the person or property of another may be used in
                          the course of committing the offense.

        The first clause of this definition is commonly referred to as the “force” or “elements” clause, and

        the second is commonly referred to as the “residual” clause. In Sessions v. Dimaya, ___ U.S. ___,

        138 S. Ct. 1204 (2018), the Court determined that the residual clause of this definition was

        impermissibly vague in violation of due process, similarly to its holding in Davis.

               The Court held that like similarly worded residual clauses struck down in Johnson II, 135 S.

        Ct. at 2557, and Sessions v. Dimaya, ––– U.S. ––––, 138 S. Ct. 1204, 1223, 200 L.Ed.2d 549 (2018),

        the 924(c) residual clause improperly required the sentencing judge's “estimation of the degree of

        risk posed by a crime's imagined ‘ordinary case.’ ” Davis, 139 S. Ct. at 2325-26, 2336


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               To determine whether an offense qualifies as a crime of violence under Section 924(c)(3)(A),

        we apply the categorical approach or the modified categorical approach, depending on the nature of

        the offense. Id. The categorical approach focuses “on the elements of the prior offense rather than the

        conduct underlying the conviction.” United States v. Cabrera-Umanzor, 728 F.3d 347, 350 (4th Cir.

        2013) (citation omitted). Thus, we do not inquire “whether the defendant's conduct could support a

        conviction for a crime of violence” but instead inquire “whether the defendant was in fact convicted

        of a crime that qualifies as a crime of violence.” Id. at 38.

               Dimaya and Davis invalidated the residual clauses encompassed by § 2261 and § 924(c),

        respectively; hence, no offense can ever qualify as a “crime of violence” under those clauses. See

        Davis, 139 S. Ct. at 2323 (“In our constitutional order, a vague law is no law at all.”); see also

        Johnson v. United States, 135 S. Ct. 2551, 2557 (2015) (“the indeterminacy of the wide-ranging

        inquiry required by the residual clause both denies fair notice and invites arbitrary enforcement by

        judges”).

               In Leocal v. Ashcroft, the Supreme Court held that the 18 U.S.C. § 16 force clause [which is

        materially the same as the § 924(c) force clause] requires “a higher mens rea than [] merely accidental

        or negligent conduct.” 543 U.S. 1, 11 (2004). The Fourth Circuit has confirmed and expanded that

        holding since then, explaining that it requires a higher degree of mens rea than recklessness or

        negligence. In fact, the Fourth Circuit has repeatedly held that the force clause requires that an

        offense have an element the intentional use of violent physical force.

               Interstate domestic violence does not require as an element the use of strong physical force

        but itself relies on the incorporation of charged predicate crimes under 16(b). As this offense includes

        conduct such as the intent to “harass,” which simply cannot meet the required showing of an

        intentional use of violent force. 18 U.S.C. § 2261(a)(1). The indictment in Mr. Keller’s case fails to



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        identify specific crimes as these predicates, so these predicate crimes do not—cannot—supply the

        necessary force elements, either.

                                                    COUNT TEN

                  Mr. Keller was charged and convicted of Witness tampering resulting in death in violation

        of 18 U.S.C. § 1512(a)(l)(C), the predicate offense for Count 10. As the residual clause in §

        924(c) no longer exists, it cannot apply to Mr. Keller. The only way that Count Ten can remain is if

        Mr. Keller’s conviction fits the definition of a crime of violence that is laid out in the force clause.

        It does not.

                  In Count Ten, the indictment explicitly references murder under 18 U.S.C. § 1111(a) as part

        of the predicate offense for which the charge was based. This federal definition of murder, however,

        does not satisfy the requirements of the 924(c) force clause, however, sufficiently to support such a

        claim.    In United States v. Begay, 934 F.3d 1033, 1038–39 (9th Cir. 2019), reh'g held in

        abeyance, No. 14-10080, 2019 WL 7900329 (9th Cir. Dec. 5, 2019), the Court found that this statute

        did not constitute a crime of violence under the force clause as the statute expressly included “second-

        degree murder [which] may be committed recklessly—with a depraved heart mental state—and need

        not be committed willfully or intentionally.”

                 The Begay holding is well in line with this Court’s precedents. In Leocal v. Ashcroft, the

        Supreme Court held that the 18 U.S.C. § 16 force clause [which is materially the same as the § 924(c)

        force clause] requires “a higher mens rea than [] merely accidental or negligent conduct.” 543 U.S.

        1, 11 (2004). The Fourth Circuit has confirmed and expanded that holding since then, explaining

        that it requires a higher degree of mens rea than recklessness or negligence. In fact, the Fourth Circuit

        has repeatedly held that the force clause requires that an offense have an element the intentional use

        of violent physical force.

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               To begin, the Fourth Circuit squarely ruled as such in United States v. Middleton, 883 F.3d

        485, 497-98 (4th Cir. 2018) (Floyd, J., concurring joined by Harris, J.). In that case, Judge Floyd,

        joined by Judge Harris, confirmed that only an offense that requires the intentional use of violent

        physical force can qualify as a “violent felony” under the force clause of the Armed Career Criminal

        Act (ACCA), which is materially the same as the § 924(c) force clause. Id. To be clear, Judge

        Floyd’s decision is controlling here even though it was a concurring opinion, because it was adopted

        by Judge Harris, forming a two-judge majority.

               The Fourth Circuit itself has said that Judge Floyd’s decision in Middleton is controlling. In

        United States v. Hodge, 902 F.3d 420, 427 (4th Cir. 2018), the Fourth Circuit relied on Judge Floyd’s

        decision in Middleton to find that Maryland reckless endangerment categorically fails to qualify as

        an ACCA “violent felony.” The Court, citing to Judge Floyd’s “plurality” decision, held that “the

        ACCA force clause [] requires a higher mens rea than recklessness.” Hodge, 902 F.3d at 427 (quoting

        Middleton, 883 F.3d at 498).

               In any event, Chief Judge Gregory’s majority decision in Middleton, 883 F.3d at 492, likewise

        held that a reckless mens rea will not suffice under the force clause. Indeed, in United States v.

        Allred, 942 F.3d 641 (4th Cir. 2019), the Fourth Circuit repeated that the force clause requires the

        “intentional causation of death or injury.” Id. at 654 (quoting United States v. Battle, 927 F.3d 160,

        166 (4th Cir. 2019)). The Court relied on Judge Gregory’s decision in holding as such: “Middleton

        stands for the proposition that unintentionally causing physical force to harm someone is not

        necessarily a use of violent physical force against the person of another.” Allred, 942 F.3d at 654

        (quoting United States v. States v. Shepard, 741 F. App’x 970, 972 (4th Cir. 2018) (internal quotation

        marks omitted)).    Similarly, in United States v. McNeal, 818 F.3d 141, 155 (4th Cir. 2016), the

        Fourth Circuit repeated that “recklessness [is] not enough” under the § 924(c) force clause.



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               While a similar conviction under the witness tampering statute was found to satisfy the force

        clause in United States v. Mathis, 932 F.3d 242 (4th Cir. 2019), that case expressly involved a charge

        under Virginia’s first degree murder statute, unlike the present case which from the indictment and

        plea agreement, could constitute second degree murder. Accordingly, the holding in Mathis does not

        control here.

                                                   COUNT TWO

                 For Count Two under 924(o), two of the underlying predicate offenses conspiracy to

         commit interstate domestic violence (Count 1) and conspiracy to kill witnesses (Count 3) ECF

         53. However, post-Davis, such conspiracy offenses categorically fail to qualify as a “crime of

         violence” because they do not have an element the use, attempted use, or threatened use of violent

         physical force. Indeed, the Fourth Circuit held exactly as such in United States v. Simms, 914

         F.3d at 233-34, finding that because conspiracy can be satisfied merely by an agreement to

         commit the object of the conspiracy, the force clause is not satisfied. Id.

         II.     Mr. Keller is entitled to relief under 28 U.S.C. § 2255 relief because 1) his claim under
                 Davis is cognizable and 2) Davis is retroactive on collateral review.

                 A.     Mr. Keller’s claim is cognizable under § 2255(a).

                 Under 28 U.S.C. § 2255(a), a petitioner is entitled to relief when his original conviction

         “was imposed in violation of the Constitution or laws of the United States.” 28 U.S.C. § 2255(a).

         Mr. Keller is entitled to relief on both grounds.

                 First, based on all the reasons noted above, Mr. Keller’s § 924(c) convictions violate

         due process because they were dependent upon an unconstitutionally vague residual clause.

                 Second, because post-Davis , the predicate offenses underlying Mr. Keller’s 924©

         convictions categorically fail to satisfy the “crime of violence” element under § 924(c), the

         indictment failed to state an offense under § 924(c) for Counts 2, 8, and 10, and Mr. Keller has


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         now been convicted offenses that are no longer criminal. This means his convictions violate the

         United States laws and result in a miscarriage of justice. The Supreme Court has held that this is

         exactly the type of error that is cognizable under 28 U.S.C. § 2255(a). See Davis v. United States,

         417 U.S. 333, 346-47 (1974) (holding that when an intervening decision establishes that a prisoner

         was convicted of “an act that the law [no longer] make[s] criminal,” “such a circumstance

         ‘inherently results in a complete miscarriage of justice and presents exceptional circumstances’

         that justify relief under § 2255").

                B.      Davis is retroactive on collateral review.

                Under Teague v. Lane, 489 U.S. 288 (1989), a Supreme Court decision applies

         retroactively to cases on collateral review if it announces a rule that is “substantive.” Welch v.

         United States,136 S. Ct. 1257, 1264 (2016). As the Solicitor General has already conceded, Davis

         is retroactive on collateral review because it is substantive. See Brief for the United States, United

         States v. Davis, Sup. Ct. No. 18-431 (Feb. 12, 2019), at 52 (“A holding of this Court that Section

         924(c)(3)(B) requires an ordinary-case categorical approach—and thus is unconstitutionally

         vague—would be a retroactive substantive rule applicable on collateral review.”) (citing Welch,

         136 S. Ct. at 1264).

                A decision is “substantive” if it “alters the range of conduct or the class of persons that the

         law punishes.” Welch, 136 S. Ct. at 1265. This includes “constitutional determinations that place

         particular conduct or persons covered by the statute beyond the State’s power to punish.” Id.

         (citation omitted). For example, in Welch, the Supreme Court found that Johnson v. United States,

         135 S. Ct. 2551 (2015), was retroactive because it altered the punishment for a class of people

         once subject to the Armed Career Criminal Act (ACCA) (18 U.S.C. § 924(e)(2)(B)) who could

         no longer be classified as such based on the statute’s now-defunct residual clause. Id. This



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         reasoning applies with even more force here. Davis not only alters sentences but renders innocent

         a class of people once subject to §924(c) liability based on predicate offenses that solely fell within

         the now-defunct § 924(c) residual clause. Davis thereby alters the range of conduct and class of

         persons that can be punished under § 924(c). Therefore, Davis is retroactive.

               To be sure, at least two other circuits have held that Davis applies retroactively. The Sixth

        Circuit, in In re Franklin, 950 F.3d 909 (6th Cir. 2019), allowed the petitioner to file a successive §

        2255 petition based on Davis, noting that it established a new rule of constitutional law, and pointing

        out that while lower courts do not ordinarily apply a new rule retroactively until the Supreme Court

        has announced the retroactive effect, a narrow exception exists when “[m]ultiple cases dictate the

        retroactivity of the new rule.” Franklin, at 910 (citing Tyler v. Cain, 533 U.S. 656, 664 (2001). That

        court determined that Davis applied retroactively based on the Supreme Court’s decision in Welch.

        The Third Circuit gave a similar holding in In Re Matthews, 934 F.3d 296 (3rd Cir. 2019).

                                                   CONCLUSION

                 For the reasons set forth above, Mr. Keller respectfully asks this Court to vacate his §

         924(c) convictions, and to schedule a re-sentencing for his remaining convictions.

                                                                Respectfully submitted,

                                                                NAKIA KELLER

                                                                /s Brooks A. Duncan
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                                         CERTIFICATE OF SERVICE

               I hereby certify that on the 24th day of June, 2020, I electronically filed the foregoing Motion

        with the Clerk of the Court, using the CM/ECF system, which will send notification of such filing to

        all counsel of record.

                                                              /s Brooks A. Duncan




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